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                                                         [PUBLISH]
                                 In the
                 United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 21-11733
                         ____________________

        SERENDIPITY AT SEA, LLC,
                                                    Plaintiff-Appellant,
        versus
        UNDERWRITERS AT LLOYD'S OF LONDON SUBSCRIBING
        TO POLICY NUMBER 187581,


                                                  Defendant-Appellee,


        USI INSURANCE SERVICES, LLC,


                                                            Defendant.


                         ____________________
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                   Appeal from the United States District Court
                       for the Southern District of Florida
                      D.C. Docket No. 0:20-cv-60520-RAR
                            ____________________

        Before WILLIAM PRYOR, Chief Judge, ROSENBAUM, and MARCUS,
        Circuit Judges.
        MARCUS, Circuit Judge:
               This appeal arises out of an insurance dispute involving a
        yacht, the Serendipity, that was destroyed by Hurricane Dorian, a
        Category 5 storm, that slammed into Great Abaco Island in the Ba-
        hamas. Serendipity at Sea, LLC (“Serendipity, LLC”), a holding
        company created by Mikael Sean Oakley and Jacqueline English
        (“the Oakleys”) to manage the Serendipity, sued Underwriters at
        Lloyd’s of London Subscribing to Policy Number 187581
        (“Lloyd’s”) for breach of contract after Lloyd’s denied the Oakleys’
        insurance claim for the damage Hurricane Dorian caused to the
        Serendipity. In denying that it had breached the contract, Lloyd’s
        argued that it was not liable because Serendipity, LLC did not em-
        ploy a full-time licensed captain in violation of the policy’s Captain
        Warranty, and that the breach increased the hazard to the yacht
        because a licensed captain would have operated the vessel back to
        Florida when Hurricane Dorian formed and was forecast to hit the
        Bahamas.
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               The district court granted summary judgment in favor of
        Lloyd’s under Federal Rule of Civil Procedure 56(f). It found that
        the Captain Warranty was unambiguous; that Serendipity, LLC
        breached the agreement by failing to hire a full-time licensed cap-
        tain; and that the breach increased the hazard posed to the Seren-
        dipity based on the purportedly undisputed testimony of Captain
        Thomas Danti, an expert hired by Lloyd’s.
               While we agree with the district court’s conclusion that Ser-
        endipity, LLC breached the Captain Warranty, a disputed question
        of material fact remains about whether the breach increased the
        hazard posed to the vessel. Thus, we reverse the district court’s
        grant of summary judgment in favor of Lloyd’s and remand the
        case to the district court for further proceedings consistent with
        this opinion.
                                         I.
               The relevant facts -- for purposes of summary judgment --
        are these. The Oakleys own a 61-foot Viking Princess yacht named
        the Serendipity, which they manage through their holding com-
        pany, Serendipity, LLC. The Oakleys insured the yacht through a
        SeaWave Yacht Insurance Policy (the “Policy”). They used an in-
        surance broker, USI Insurance Services, LLC, to secure the Policy,
        which was underwritten by Lloyd’s.
               The Policy contained two warranties: a Captain Warranty
        and a Crew Warranty. It is the Parties’ disagreement over how to
        interpret the Captain Warranty that brought them to court. The
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        Captain Warranty in effect in 2015 “[w]arranted a full time licensed
        captain is employed for the maintenance and care of the vessel and
        is aboard while the vessel is underway. Michael [sic] Sean Oakley
        is permitted to operate the vessel without the Captain aboard.”
        The Captain Warranty in effect in each subsequent renewal period
        (and when the loss occurred) omitted the second line; it only
        “[w]arranted a full time licensed captain is employed for the
        maintenance and care of the vessel and is aboard while underway.”
        A separate provision of the Policy also stated that “[i]t is agreed that
        the person in charge of and in control of Your Boat while making
        way or under way shall only be You or others as may be permitted
        by the terms and conditions of this Contract.”
               Despite the slight variations of the Captain Warranty, all
        Parties agree that Oakley was allowed to drive the boat without a
        captain present. They disagree, however, about what the Captain
        Warranty required of Serendipity, LLC when the vessel was not
        underway. As a preview: Serendipity, LLC believed it only needed
        to have a captain “on call” to assist as needed with the vessel, while
        Lloyd’s believed that the Policy required Serendipity, LLC to hire
        a captain to care for the Serendipity “full time.”
                The Policy also contained a Crew Warranty, but it proved
        far less controversial. It said only that “[c]overage is provided for
        [1] full time paid crew.” It is relevant for our purposes because the
        Oakleys believed that the Captain Warranty was intended to func-
        tion the same as the Crew Warranty: Oakley said in his deposition
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        that he thought the Captain Warranty was intended to protect the
        Oakleys from liability if Captain Connelly “slipped and fell or hurt”
        himself. In other words, Oakley understood the warranty as in-
        tended “to protect any captain that was on board operating the ves-
        sel,” providing additional coverage like the Crew Warranty did.
               Because of the Captain Warranty, the Oakleys were re-
        quired to list a “captain of the vessel” on their insurance applica-
        tion. And so they listed William Scott Connelly (“Captain Con-
        nelly”), a family friend. But in addition to being a friend of the Oak-
        leys, Captain Connelly is also a retired captain. While he used to
        operate marine vessels as his main profession, since his retirement
        he no longer “[got] to captain vessels on a regular basis, as [he] once
        did.” But, as he put it in an affidavit, he was “always available” to
        help the Oakleys when they needed him.
               On or about July 27, 2019, Oakley drove the Serendipity
        from Cape Canaveral, Florida to Great Abaco Island in the Baha-
        mas. Two friends joined him for the voyage, which took about
        eleven hours. The month prior, Oakley had made significant and
        expensive improvements to the Serendipity, to the tune of
        $100,000 or so. He received a certificate of insurance from their
        broker, USI, in order to make the repairs, and he told USI about his
        plan to take the Serendipity to the Bahamas at that time.
               When the Serendipity arrived in the Bahamas, Oakley and a
        licensed captain, Captain Trevor Lightbourne, docked the yacht
        behind a home known as the Pink Paradise. Oakley also updated
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        the cameras around the dock to a high-tech brand. Oakley re-
        turned home to Florida in early August. While he was gone, Cap-
        tain Lightbourne and another licensed captain, Captain Stanley
        McIntosh, checked in on the Serendipity.
                All was well for a few weeks. But on August 23, 2019, a
        storm started brewing in the Atlantic Ocean. The same day that
        the storm was announced, Oakley consulted with Captains Light-
        bourne and McIntosh and determined that the safest place for the
        Serendipity to weather the storm, which was predicted to hit Cen-
        tral Florida, was in the Bahamas. Captains Lightbourne and McIn-
        tosh secured the vessel to the dock, with Oakley directing the prep-
        aration using the cameras.
               By August 26, 2019, the storm -- now named Dorian -- was
        forecast to hit Puerto Rico as a tropical storm. It was a particularly
        erratic storm, however, and the forecast changed quickly and fre-
        quently. On August 29, 2019, Dorian was predicted to bypass the
        Bahamas and hit Central Florida directly. But forecasters remained
        uncertain about when and where exactly the storm would make
        landfall. On the afternoon of August 30, 2019, Dorian became a
        Category 3 hurricane. Only seven hours later, it strengthened into
        a devasting Category 5 hurricane. It made landfall on Great Abaco,
        where the Serendipity was docked. The Serendipity was de-
        stroyed.
              Serendipity, LLC subsequently filed an insurance claim for
        the damage. But its claim was denied on February 19, 2020. In the
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        denial letter, a representative of Lloyd’s explained that the Policy
        “warranted that a licensed captain is employed and is aboard while
        the vessel is underway,” but that Oakley “moved the boat to the
        Bahamas and there was no licensed Captain aboard for that voy-
        age.”
                Serendipity, LLC sued Lloyd’s in Florida state court on Feb-
        ruary 14, 2020. Lloyd’s removed the matter to the United States
        District Court for the Southern District of Florida asserting diver-
        sity jurisdiction on March 10, 2020. Serendipity, LLC’s initial com-
        plaint raised two counts against Lloyd’s for breach of contract and
        bad faith. Serendipity, LLC has since amended its complaint sev-
        eral times. The operative complaint, the Fourth Amended Com-
        plaint, brings one count against Lloyd’s for breach of contract, and
        two counts against the insurance broker, USI, for breach of fiduci-
        ary duty and negligence.
               The Parties filed cross motions for summary judgment, and
        the district court denied them all following a Report and Recom-
        mendation from a magistrate judge. But at the same time it denied
        the cross motions for summary judgment, the district court di-
        rected Serendipity, LLC to file a brief addressing “the issue of
        whether Plaintiff’s breach of the Captain Warranty ‘increased the
        hazard within the control of the insured,’ Fla. Stat. § 627.409(2)” in
        accordance with Federal Rule of Civil Procedure 56(f). Serendipity,
        LLC filed its response on April 20, 2021 and Lloyd’s replied the next
        day. Serendipity, LLC largely ignored the instructions of the
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        district court and spent much of its brief addressing breach. To the
        extent the brief addressed the hazard issue, it mainly addressed it
        in relation to breach. That is, Serendipity, LLC argued that an “in-
        creased risk” required a “material breach” and because “Mr. Oakley
        was authorized to operate the boat without a captain on board . . .
        his bringing the boat to the Bahamas without incident, was author-
        ized and not a breach.” Serendipity, LLC added, however, that
        “[t]he vessel was not in jeopardy with Mr. Oakley as the captain”
        because Oakley “was highly experienced operating the subject ves-
        sel and similar vessels” and “had extensive experience navigating
        to and from and within the Bahamas.”
                For its part, Lloyd’s offered an expert, Captain Danti, to
        opine on the hazard issue. Based on Captain Danti’s testimony, the
        district court granted summary judgment in favor of Lloyd’s under
        Federal Rule of Civil Procedure 56(f). The district court concluded
        that Serendipity, LLC had “produced no evidence to rebut this tes-
        timony, and thus the record is clear that [Serendipity, LLC]’s
        breach of the Captain Warranty increased the hazard within the
        control of the insured.” And so it entered final judgment in favor
        of Lloyd’s.
              This timely appeal followed.
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                                         II.
                                         A.
                We carried one jurisdictional issue with this case:
        “[W]hether there is a final and appealable order in light of the vol-
        untarily stipulated dismissal without prejudice, which does not ap-
        pear to have been signed by [Lloyd’s].” We conclude that there is.
        Serendipity, LLC’s claims against USI were properly dismissed un-
        der Federal Rule of Civil Procedure 41(a)(2). That rule provides, in
        relevant part, that “an action may be dismissed at the plaintiff’s re-
        quest only by court order, on terms that the court considers
        proper.” Fed. R. Civ. P. 41(a)(2). While the Parties cited Federal
        Rule of Civil Procedure 41(a)(1)(A)(ii) in their Joint Stipulation,
        they appeared to have contemplated additional action by the dis-
        trict court, consistent with Rule 41(a)(2), and the district court did
        take further action by entering an order dismissing USI. The dis-
        missal of USI met the requirements of Rule 41(a)(2), and the only
        claim remaining in this matter when the district court entered sum-
        mary judgment in favor of Lloyd’s was Serendipity, LLC’s breach
        of contract claim against Lloyd’s. Accordingly, Serendipity’s ap-
        peal of that decision provides us with a final decision from the dis-
        trict court to review. See 28 U.S.C. § 1291; see also World Fuel
        Corp. v. Geithner, 568 F.3d 1345, 1348 (11th Cir. 2009) (explaining
        that a final decision is “one that ends the litigation on the merits
        and leaves nothing for the court to do but execute its judgment”
        (quotation marks and citation omitted)).
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                                         B.
               We review the district court’s grant of summary judgment
        de novo, applying the same legal standards as the district court.
        Penley v. Eslinger, 605 F.3d 843, 848 (11th Cir. 2010). A motion for
        summary judgment is properly granted when “there is no genuine
        dispute as to any material fact and the movant is entitled to judg-
        ment as a matter of law.” Fed. R. Civ. P. 56(a); see also Richmond
        v. Badia, 47 F.4th 1172, 1179 (11th Cir. 2022).
               On appeal, Serendipity, LLC argues that the Captain War-
        ranty is ambiguous and vague, and that under the reading of the
        warranty most favorable to it -- the reading that we are required to
        adopt under binding Florida law, see Roberson v. United Servs.
        Auto. Ass’n, 330 So. 2d 745, 746 (Fla. 1st DCA 1976) -- there was no
        breach. Serendipity, LLC also argues that even if there was a
        breach, the breach did not justify denial of coverage under the Pol-
        icy because it did not “increase the hazard” posed to the Serendipity
        by Hurricane Dorian. If the breach did not “increase the hazard,”
        the Policy remained enforceable and Lloyd’s was required to pay,
        absent some other breach or excuse for nonpayment.
                Our first task, then, is to determine whether the Captain
        Warranty is ambiguous. And there is no better place to begin than
        with the language of the warranty. The warranty said, in its en-
        tirety, that the policy “[w]arranted a full time licensed captain is
        employed for the maintenance and care of the vessel and is aboard
        while underway.” Serendipity, LLC claims this language is vague
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        and ambiguous for a number of reasons, which it presented as a list
        of hypothetical questions to the district court (e.g., “what exactly is
        a ‘full time licensed captain,’” “what is considered ‘full time,’” “is
        the captain employed ‘full time’ if he is only aboard while the vessel
        is ‘underway’”?).
                Under Florida law, which we are Erie-bound to apply in this
        diversity action, see Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938),
        “[a]n insurance contract is ambiguous if it is susceptible to two or
        more reasonable interpretations that can fairly be made.” Dahl-
        Eimers v. Mut. of Omaha Life Ins. Co., 986 F.2d 1379, 1381 (11th
        Cir. 1993); see also Travelers Indem. Co. v. PCR Inc., 889 So. 2d
        779, 785 (Fla. 2004) (“Policy language is considered to be ambigu-
        ous . . . if the language is susceptible to more than one reasonable
        interpretation, one providing coverage and the other limiting cov-
        erage.” (quotation marks and citation omitted)). “In interpreting
        an insurance contract, we are bound by the plain meaning of the
        contract’s text.” State Farm Mut. Auto. Ins. Co. v. Menendez, 70
        So. 3d 566, 569 (Fla. 2011).
               “If the language used in an insurance policy is plain and un-
        ambiguous, a court must interpret the policy in accordance with
        the plain meaning of the language used so as to give effect to the
        policy as it was written.” Travelers, 889 So. 2d at 785. But a provi-
        sion is not ambiguous “simply because it is complex or requires
        analysis.” Penzer v. Transp. Ins. Co., 29 So. 3d 1000, 1005 (Fla.
        2010) (citation omitted). And courts should not “put a strained and
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        unnatural construction on the terms of a policy.” Southern-Owners
        Ins. Co. v. Eason Rhodes & Assocs., LLC, 872 F.3d 1161, 1164 (11th
        Cir. 2017) (citation omitted). If there is genuine ambiguity, how-
        ever, “[i]nsurance policies are construed liberally in favor of the in-
        sured and strictly against the insurer.” Roberson, 330 So. 2d at 746.
                 We turn now to the interpretations of the Captain Warranty
        that Serendipity, LLC offers. First, Serendipity, LLC’s most pre-
        ferred interpretation: that the Captain Warranty provided addi-
        tional coverage to the Oakleys in the event a hired captain was in-
        jured while aboard the vessel. This interpretation is patently un-
        reasonable because it is belied by the text of the warranty. There
        is no reading of “[w]arranted a full time licensed captain is em-
        ployed for the maintenance and care of the vessel and is aboard
        while underway” that expands coverage for personal injuries suf-
        fered by a captain on the vessel. Indeed, there is no reading that
        does not require Serendipity, LLC to hire a full-time licensed cap-
        tain in some capacity. And we cannot “put a strained and unnatural
        construction” on the warranty to read it this way. See Southern-
        Owners, 872 F.3d at 1164. Had the Captain Warranty said the same
        thing the Crew Warranty says -- “[c]overage is provided for [1] full
        time paid crew” -- this argument may have held more water. But
        as it stands, this argument fails under the plain text of the warranty.
               Nevertheless, we are persuaded that the Captain Warranty
        is otherwise ambiguous. We say this because there is more than
        one reasonable way to read the plain language of its text. See Dahl-
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        Eimers, 986 F.2d at 1382 (“Ordinary rules of construction require
        us, first, to assess the natural or plain meaning of the policy lan-
        guage.”). The Captain Warranty is ambiguous about what it
        means by the phrase “a full time licensed captain is employed.” One
        reasonable interpretation is that Serendipity, LLC is required to
        hire a person whose full-time profession is that of a captain but who
        only works for Serendipity, LLC part time. The full-time captain
        could work over forty hours per week as a captain, but only work,
        say, five hours each week on the Serendipity and forty hours each
        week as a captain somewhere else. Another reasonable interpreta-
        tion is that Serendipity, LLC must hire a person to work on the
        Serendipity exclusively as a full-time captain’s job -- as in a typical
        nine-to-five arrangement. The word “full time” is not defined an-
        ywhere in the Policy, which “does not create ambiguity per se,”
        but nevertheless lends support to the conclusion that the Captain
        Warranty is ambiguous. See id.
                In the end, though, the fact that the warranty may have been
        ambiguous does not save Serendipity, LLC because under any rea-
        sonable interpretation of its text, Serendipity, LLC failed to fulfill
        its obligations. Under any reasonable interpretation of the Policy,
        Serendipity, LLC was required to hire a licensed captain either to
        care for the Serendipity full time, or whose full-time job was as a
        licensed captain. Plainly, Serendipity, LLC did neither.
              Oakley testified in his deposition that he “hired many, many
        people to work on the boat; but did we ever hire a full-time captain?
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        No. The -- the full-time captain was me.” This concession is fatal
        to Serendipity, LLC’s argument; all agree that Oakley was not a
        licensed captain during the relevant period, and Serendipity, LLC
        makes no attempt to argue that Oakley himself satisfied the war-
        ranty. Instead, Serendipity, LLC says that Captain Connelly filled
        the role. But Captain Connelly neither worked full time on the
        Serendipity nor worked full time as a licensed captain during the
        period the Policy was in effect. It is true that Captain Connelly
        submitted an affidavit explaining that he was “always available to
        assist in any way [he] c[ould].” He went on to explain, however,
        that he “was paid for [his] services with dinners and attending
        cruises with [the Oakleys].” This is not compensation for full-time
        work. But still more problematic, Captain Connelly disclosed that
        he was retired from his job as a captain by the time the Oakleys
        purchased the Serendipity; he swore in his affidavit that he is “re-
        tired, and [doesn’t] get to captain vessels on a regular basis, as [he]
        once did.” Under even the most charitable reading of the Captain
        Warranty, this was not what the Policy required, and the district
        court correctly concluded that there had been a breach.
                                          C.
                Our inquiry does not end there, however. In order to escape
        coverage, Lloyd’s must prove not only that Serendipity, LLC
        breached the Captain Warranty, but also that the breach “increased
        the hazard” posed by Hurricane Dorian to the Serendipity. The
        district court concluded that the record “demonstrate[d] that there
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        is no genuine dispute of fact that the failure to employ a full-time
        licensed captain did indeed increase the hazard.” In support, the
        district court explained that Serendipity, LLC “produced no evi-
        dence to rebut” the testimony of Lloyd’s’ expert witness, Captain
        Danti, who concluded that any licensed captain would have driven
        the Serendipity back to Cape Canaveral before Hurricane Dorian
        struck the Bahamas. We disagree.
                                           1.
                Before explaining why a material dispute of fact remains on
        the issue of hazard, we pause to explain why we believe the argu-
        ment was properly presented to the district court. “It is well settled
        that issues not raised in the district court in the first instance are
        forfeited.” Douglas Asphalt Co. v. QORE, Inc., 657 F.3d 1146, 1152
        (11th Cir. 2011). So “if a party hopes to preserve a claim, argument,
        theory, or defense on appeal, [it] must first clearly present it to the
        district court, that is, in such a way as to afford the district court an
        opportunity to recognize and rule on it.” Juris v. Inamed Corp., 685
        F.3d 1294, 1325 (11th Cir. 2012) (citation omitted).
               Lloyd’s suggests that Serendipity, LLC may have forfeited
        its argument that the breach did not increase the hazard because it
        did not “produce any facts to rebut the testimony of Captain Danti
        that the absence of a full time captain employed for the mainte-
        nance and care of the vessel increased the risk or hazard to the ves-
        sel” in the district court. Alternatively, Lloyd’s suggested at oral
        argument that Serendipity, LLC forfeited the argument by not
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        raising it a second time to the district court in response to the dis-
        trict court’s order requiring briefing under Rule 56(f). We are not
        persuaded by either argument.
               “There is no burden upon the district court to distill every
        potential argument that could be made based upon the materials
        before it on summary judgment.” Resol. Tr. Corp. v. Dunmar
        Corp., 43 F.3d 587, 599 (11th Cir. 1995) (en banc). And we will not
        require the district court to undertake the proverbial hunt for the
        Red October submarine in the Atlantic Ocean 1 in order to find a
        disputed issue of fact in the summary judgment record. But, con-
        trary to the position taken by Lloyd’s, we see no need to hunt here.
               It was apparent throughout Serendipity, LLC’s Motion for
        Summary Judgment and its Statement of Material Facts that it dis-
        puted the testimony in Captain Danti’s report. More precisely, it
        was apparent that Serendipity, LLC disputed a meteorological fact
        (the Dooley SeaWeather report) that formed the basis of Captain
        Danti’s report -- a meteorological fact of which Captain Danti did
        not possess any particular expertise. Beginning with the introduc-
        tion in its Motion for Summary Judgment, Serendipity, LLC ex-
        plained that
               [O]n August 27, 2019, Hurricane Dorian began form-
               ing and was initially predicted to hit Florida. As such,


        1 See The Hunt for Red October (Paramount Pictures 1990) (based on Tom
        Clancy, The Hunt for Red October (1984)).
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                Mr. Oakley believed the M/Y Serendipity to be safer
                in the Bahamas. (Exhibit 3 [sic], Combined Weather
                Reports[ 2]). Further, he believed that it would not be
                safe or reasonable to return to Florida and potentially
                face the storm in the open sea.
               Then, in a section of its Motion for Summary Judgment ti-
        tled “Plaintiff Did Not Breach Any Aspect of the Hurricane Plan by
        Bringing the Vessel to the Bahamas,” Serendipity, LLC claimed
        that “[b]ased on the information available at the time, Mr. Oakley
        determined that the vessel would be safer in the Bahamas” and that
        “[i]t would have been an unnecessary hazard to attempt to move
        the vessel hours before the Hurricane struck and risk facing the
        storm in the open sea.” Any way you read it, this argument cuts
        directly to the hazard issue, even though the argument was placed
        under the wrong topical heading.


        2 In response to Serendipity, LLC’s Motion for Summary Judgment, but not
        on appeal, Lloyd’s objected to these reports because they “present[] alleged
        facts in a manner that would not be admissible at trial” in that they have not
        been authenticated by a witness. Lloyd’s argument missed the mark for two
        reasons. First, the reports appear in newspaper articles, and newspaper articles
        are self-authenticating. See Fed. R. Evid. 902(6). And second, even if inadmis-
        sible in the form presented, these weather reports are properly considered on
        summary judgment because they could easily be reduced to admissible form
        at trial. See Smith v. Marcus & Millichap, Inc., 991 F.3d 1145, 1156 n.2 (11th
        Cir. 2021). This Court has explicitly held that this is true with respect to news-
        paper articles. See Church of Scientology Flag Serv. Org., Inc. v. City of Clear-
        water, 2 F.3d 1514, 1530 (11th Cir. 1993).
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                In addition, just above the section of Serendipity, LLC’s Mo-
        tion titled “None of the Alleged Breaches by Plaintiff Served to In-
        crease the Insurance Hazard of Defendant Underwriters,” -- but
        still not under the correct topical heading -- Serendipity, LLC
        pointed out that it “had initially appeared that Florida would be hit
        more severely by the storm” and attempting to navigate the vessel
        to Cape Canaveral from the Abacos “could have exposed the vessel
        and human life to greater risk.” In this location, the district court
        would not have been required to scour the record to find Serendip-
        ity, LLC’s position on whether any breach increased the hazard.
               Most significantly, however, for our purposes, Serendipity,
        LLC directly disputed Captain Danti’s testimony in its Statement
        of Material Facts, which additionally served as its response to
        Lloyd’s Statement of Material Facts. Paragraph 59 of Lloyd’s State-
        ment provides: “This change in mooring location [from Cape Ca-
        naveral to the Bahamas], substantially increased the risk to the Sub-
        ject Vessel during the hurricane season. . . .” In turn, ¶ 59 of Ser-
        endipity, LLC’s response reads this way: “Hurricane Dorian was at
        that time predicted to hit Cape Canaveral, the primary location for
        the subject vessel. It wasn’t till hours before it hit Paradise Cay,
        that any prediction said it would hit the Abacos.” So, directly in
        response to Lloyd’s claim that Serendipity, LLC’s conduct “sub-
        stantially increased the risk to the Subject Vessel,” -- i.e., increased
        the hazard -- Serendipity, LLC responded that Dorian was not pre-
        dicted to hit the Abacos until hours before the yacht was destroyed.
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               The argument continued in ¶ 63 of Serendipity, LLC’s State-
        ment of Material Facts. There, Serendipity, LLC claimed that “[a]t
        th[e] stated time frame [between August 24, 2019 and August 30,
        2019], the hurricane was still predicted to hit Florida’s coast line
        and not yet predicted to hit the Abacos. Trying to relocate the boat
        would have been a reckless endeavor.”
                Then, finally, in ¶ 66 of Serendipity, LLC’s Statement of Ma-
        terial Facts, Serendipity LLC directly disputed the critical predicate
        fact upon which Captain Danti’s report relied. That paragraph
        summarized, verbatim, some of the testimony of Captain Danti:
        “Based on the forecast information obtained by Dooley Sea-
        Weather, there is no question that a licensed Captain assigned to
        M/Y Serendipity would have made the decision to evacuate.” Ser-
        endipity, LLC expressly disputed this fact, arguing that it “contra-
        dicts the weather reports that existed at that time,” challenging the
        idea that “personal interpretations by lay people take precedence
        over licensed meteorologists,” and then specifically referencing the
        weather reports in Exhibit 9, which show Hurricane Dorian con-
        sistently forecast to hit Cape Canaveral, including on August 30,
        2019 -- the day the Serendipity was destroyed.
                Moreover, in a footnote in his Report and Recommenda-
        tion, the magistrate judge expressly said that he reviewed “the ma-
        terials filed in connection with the motions,” including Plaintiff’s
        Statement of Material Facts. He also cited to Plaintiff’s Statement
        of Material Facts on one occasion in his Report and
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        Recommendation, strongly suggesting that he was at least aware
        of the facts averred therein, including those found in ¶¶ 59, 63, and
        66. So, in our view, Serendipity, LLC’s argument was presented to
        the district court in its Motion for Summary Judgment and accom-
        panying Statement of Material Facts. And our caselaw cannot be
        read to require Serendipity, LLC to reraise the same argument the
        district court rejected a second time in response to the district
        court’s Rule 56(f) order. See Browning v. AT&T Paradyne, 120
        F.3d 222, 225–26 (11th Cir. 1997) (finding an argument properly
        preserved when raised on summary judgment before a district
        court judge, even though the argument was not reraised in subse-
        quent summary judgment briefing before a magistrate judge after
        the parties consented to magistrate jurisdiction); cf. Belevich v.
        Thomas, 17 F.4th 1048, 1051 n.1 (11th Cir. 2021) (concluding that
        “[b]ecause the [defendants] adequately presented their non-statu-
        tory defenses in their second amended answer and in their opposi-
        tion to [plaintiff’s] motion for a protective order, they have pre-
        served these issues for appeal” even though the arguments were
        not reraised during summary judgment).
                                          2.
                At last, we come to the heart of this appeal -- whether a ma-
        terial dispute of fact remains about whether Serendipity, LLC’s fail-
        ure to hire a full-time licensed captain increased the risk to the Ser-
        endipity posed by Hurricane Dorian. We conclude that it does.
               Under Florida law,
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               A breach or violation by the insured of a warranty, con-
               dition, or provision of a wet marine or transportation
               insurance policy, contract of insurance, endorsement,
               or application does not void the policy or contract, or
               constitute a defense to a loss thereon, unless such
               breach or violation increased the hazard by any means
               within the control of the insured.
        Fla. Stat. § 627.409(2). “The statute is designed to prevent the in-
        surer from avoiding coverage on a technical omission playing no
        part in the loss.” Pickett v. Woods, 404 So. 2d 1152, 1153 (Fla. 5th
        DCA 1981). The question of whether an insured increased the haz-
        ard is typically a question of fact for the jury. Pearl Assur. Co. v. S.
        Wood Prods. Co., 216 F.2d 135, 136 (5th Cir. 1954). 3
               Serendipity, LLC offers five reasons its breach did not in-
        crease the hazard:
               1) two licensed captains were physically present with
               the Serendipity in the days leading up to Dorian hit-
               ting the Abaco; 2) Mr. Oakley was in regular commu-
               nications with Captains McIntosh, Lightbourne and
               Connelly and the Cape Marina in the days and hours
               leading up to Dorian hitting the Abaco, and all


        3 Decisions of the former Fifth Circuit issued before October 1, 1981, consti-
        tute binding precedent in the Eleventh Circuit. Bonner v. City of Prichard,
        661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
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              determined that it was best to leave the Vessel where
              it was; 3) Captains McIntosh and Lightbourne se-
              cured the Vessel with assistance from crew, and Mr.
              Oakley observed and oversaw the process via live
              video camera; 4) Captain Lightbourne stayed in the
              Pink Paradise, therefore a licensed Captain was with
              the Vessel at the time Dorian hit; 5) the suggestion
              that anyone, given Dorian’s record-breaking unpre-
              dictability, changing nature and wind velocity, would
              have been able to predict Dorian’s path to avoid Do-
              rian in the days leading up to August 30 is ludicrous.
        Lloyd’s does not address any of these arguments directly. Instead,
        it claims that Serendipity, LLC offered no evidence to rebut Cap-
        tain Danti’s testimony that Serendipity, LLC’s failure to employ a
        full-time licensed captain increased the hazard to the vessel. The
        district court agreed with the position taken by Lloyd’s; it found
        that Serendipity, LLC “ha[d] produced no evidence to rebut [Cap-
        tain Danti’s] testimony,” making the record “clear that [Serendip-
        ity, LLC]’s breach of the Captain Warranty increased the hazard
        within the control of the insured.”
                In our view, however, both Lloyd’s and the district court
        failed to consider the ample evidence that we have already cited in
        the record creating a genuine dispute of fact about whether Seren-
        dipity, LLC’s breach increased the hazard -- that Hurricane Dorian
        was consistently predicted to hit Central Florida, and that it would
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        have been “an unnecessary hazard to attempt to move the vessel”
        on account of Hurricane Dorian’s strength and unpredictability.
        Serendipity, LLC supported this claim by attaching news articles
        and weather reports covering Hurricane Dorian’s path as an exhibit
        to its Motion. And, again, Serendipity, LLC also clearly disputed
        Captain Danti’s testimony in its Statement of Material Facts. It
        wrote, in no uncertain terms, that Captain Danti’s testimony “con-
        tradicts the weather reports that existed at that time” and cited Ex-
        hibit 9 in support. This evidence plainly contradicts Captain
        Danti’s testimony. We therefore cannot conclude, as the district
        court did, that Serendipity, LLC “produced no evidence to rebut
        [Captain Danti’s] testimony.”
               A jury may well credit Captain Danti’s testimony over the
        weather reports offered by Serendipity, LLC. But that is a credibil-
        ity determination for the jury to make. The district court erred in
        granting summary judgment for Lloyd’s when a disputed question
        of material fact remains about whether Serendipity, LLC’s breach
        of the Captain Warranty increased the hazard posed to the Seren-
        dipity by Hurricane Dorian.
               Accordingly, we REVERSE the district court’s order grant-
        ing final summary judgment in favor of Lloyd’s and REMAND this
        case to the district court for further proceedings.
